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Fill in this information to identify the case:
Debtor name Hilliard Hotels, LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF OHIO                                                                       Check if this is an
Case number (if known):        2:23-bk-53045                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
A.C.E.                                              Trade Debt                Contingent                                                                          $3,168.45
7715 Nothwest 22nd                                  Expense During            Disputed
Avenue - 312                                        Receivership
Miami, FL 33147
AES Ohio                                            Utility Service                                                                                               $4,859.26
P.O. Box 2631
Dayton, OH
45401-2631
Charter                                             Telephone and                                                                                                 $1,994.37
Communications                                      Internet Services
P.O. Box 6030
Carol Stream, IL
60197-6030
City of Sidney                                      Sales Tax                                                                                                   $13,666.62
201 W. Poplar Street
Sidney, OH 45365
City of Sidney                                      August 2023 Hotel Unliquidated                                                                              $13,600.00
201 W. Poplar Street                                Lodging Tax
Sidney, OH 45365                                    (Estimated)
City of Sidney -                                    Water Utility                                                                                                 $7,986.78
Utility                                             Service
201 W. Poplar Street
Sidney, OH
45365-2720
DeBra Kuempel                                       Trade Debt                                                                                                  $12,319.76
P.O. Box 701620
Cincinnati, OH
45270
DirectTV                                            Television                                                                                                    $1,297.62
P.O. Box 5006                                       Services
Carol Stream, IL
60197-5006
Donnellon McCarthy                                  Trade Debt                                                                                                    $1,700.00
10855 Medallion
Drive
Cincinnati, OH
45241


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Debtor     Hilliard Hotels, LLC                                                                     Case number (if known)         2:23-bk-53045
           Name

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                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Hilton                                              Franchise Fees            Unliquidated                                                                    $109,800.63
755 Crossover Lane                                  (Estimated)               Disputed
Memphis, TN 38117
IGEL                                                Negative Account                                                                                              $1,343.81
2040 Alum Creek                                     Receivable
Drive
Columbus, OH
43207
Internal Revenue                                    Corporate and             Disputed                                                                            $7,199.08
Service                                             FICA Tax
P.O. Box 7346
Philadelphia, PA
19101-7346
Itria Ventures, LLC                                 Merchant Cash             Contingent                                                                    $1,334,920.00
1 Penn Plaza, Suite                                 Advances                  Unliquidated
3101                                                                          Disputed
New York, NY 10119
Ohio Department of                                  Sales Tax                                                                                                   $16,513.83
Taxation
Attn: Bankruptcy
Division
PO Box 530
Columbus, OH
43216
Ohio Department of                                  August 2023 Hotel Unliquidated                                                                              $16,500.00
Taxation                                            Lodging Tax
C/O Bankruptcy                                      (Estimated)
Division
30 East Broad
Street, 21st Floor
Columbus, OH
43215
Onity, Inc.                                         Trade Debt                Disputed                                                                          $41,840.30
4001 Fairview
Industrial Drive SE
Salem, OR 97302
Servicemaster                                       Trade Debt                                                                                                    $3,000.00
1524 E. 2nd Street
Dayton, OH 45403
Sysco - Cincinnati                                  Trade Debt                                                                                                    $7,494.47
10510 Evendale
Drive
Cincinnati, OH
45241
U.S. Small Business                                 Economic Injury                                                                                         $2,325,327.06
Administration                                      Disaster Loan
200 W. Santa
Boulevard, Suite 740
Santa Ana, CA
92701




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Debtor     Hilliard Hotels, LLC                                                                     Case number (if known)         2:23-bk-53045
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including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Wilson Memorial                                     Negative Account                                                                                              $2,472.17
Hospital                                            Receivable
915 West Michigan
Street
Sidney, OH 45365




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